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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 BARBARA DORNAU,                                              :
                                              Plaintiff,      :
                                                              :   21 Civ. 4144 (LGS)
                            -against-                         :
                                                              :        ORDER
 HARTFORD LIFE & ACCIDENT INSURANCE :
 CO.,                                                         :
                                              Defendant. X
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, pursuant to the Civil Case Management Plan and Scheduling Order a status

letter was due on November 12, 2021. (Dkt. No. 40.)

        WHEREAS, no such status letter was filed. It is hereby

        ORDERED that by November 17, 2021, the parties shall file a joint status letter.


Dated: November 15, 2021
       New York, New York
